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                                                       U.S. Department of Justice
L J                                                    Criminal Division          AT 83Q_M

                                                                                              CLERK


Darren C. Halverson                                    970 Broad Street, Suite 700
Direct Dial: (973)645-2767                             Newark, New Jersey 07102
Trial Attorney


                                                       June 12, 2019

Damian P. Conforti, Esq.
Mandelbaum Salsburg P.C.
3 Becker Farm Road, Suite 105
Roseland, NJ 07068

                Re:    Plea Agreement with Joseph DeCorso

Dear Mr. Conforti:
                                                29

               This letter sets forth the plea agreement between your client Joseph DeCorso and
the Fraud Section, Criminal Division of the United States Department of Justice (“this Office”).
This plea agreement will expire on July 15, 2019, if an executed copy is not returned to this
Office on or before that date.

Charge

                 Conditioned on the understandings specified below, this Office will accept a
guilty plea from Joseph DeCorso to Count One of the three-count Indictment, which charges
Joseph DeCorso with conspiring to commit health care fraud, contrary to 18 U.S.C. § 1347 in
violation of 18 U.S.C. § 1349. If Joseph DeCorso enters a guilty plea and is sentenced on this
charge, and otherwise fully complies with all of the terms of this agreement, this Office will not
initiate any further criminal charges against Joseph DeCorso for, from in or about July 2017
through March 15, 2019, conspiring to commit health care fraud. In addition, if Joseph DeCorso
fully complies with all of the terms of this agreement, at the time of sentencing in this matter,
this Office will move to dismiss the remaining counts of the Indictment, Crim. No. 19-249
(PGS).

                However, in the event that a guilty plea in this matter is not entered for any reason
or the judgment  of conviction entered as a result of this guilty plea does not remain in full force
and effect, Joseph DeCorso agrees that any other charges that are not time-barred by the
applicable statute of limitations on the date this agreement is signed by Joseph DeCorso may be
commenced against him, notwithstanding the expiration of the limitations period after Joseph
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 DeCorso signs the agreement.
 Sentencing

                 The violation of 18 U.S.C. § 1349 to which Joseph DeCorso agrees to plead guilty
carries a statutory maximum prison sentence often years. The statutory maximum fine for this
offense is the greatest of: (1) $250,000; (2) twice the gross amount of any pecuniary gain that
any persons derived from the offense; or (3) twice the gross amount of any pecuniary loss
sustained by any victims of the offense. Fines imposed by the sentencing judge may be subject
to the payment of interest.

                The sentence to be imposed upon Joseph DeCorso is within the sole discretion of
the sentencing judge, subject to the provisions of the Sentencing Reform Act, 18 U.S.C.
                                                                                          § 355 1-
3742, and the sentencing judge’s consideration of the United States Sentencing Guidelines. The
United States Sentencing Guidelines are advisory, not mandatory. The sentencing judge may
impose any reasonable sentence up to and including the statutory maximum term of
imprisonment and the maximum statutory fine. This Office cannot and does not make any
representation or promise as to what Guidelines range may be found by the sentencing judge, or
as to what sentence Joseph DeCorso ultimately will receive. Pursuant to Title 18, United States
Code, Section 3553(a), Joseph DeCorso reserves the right to move for a variance. This Office
reserves the right to oppose such a motion. The parties agree not to seek or argue for any upward
or downward departure or adjustment not set forth herein.

                Further, in addition to imposing any other penalty on Joseph DeCorso, the
sentencing judge (1) will order Joseph DeCorso to pay an assessment of $100 pursuant to 18
U.S.C. § 3013, which assessment must be paid by the date of sentencing; (2) may order Joseph
DeCorso to pay restitution pursuant to 18 U.S.C. § 3563(b)(2) or § 3583(d); (3) may order
Joseph DeCorso, pursuant to 18 U.S.C. § 3555, to give notice to any victims of his offense; (4)
must order forfeiture, pursuant to 18 U.S.C. § 982(a)(7); and (5) pursuant to 18 U.S.C. § 3583,
may require Joseph DeCorso to serve a term of supervised release of not more than three years,
which will begin at the expiration of any term of imprisonment imposed. Should Joseph
DeCorso be placed on a term of supervised release and subsequently violate any of the
conditions of supervised release before the expiration of its term, Joseph DeCorso may be
sentenced to not more than two years’ imprisonment in addition to any prison term previously
imposed, regardless of the statutory maximum term of imprisonment set forth above and without
credit for time previously served on post-release supervision, and may be sentenced to an
additional term of supervised release.

Restitution Agreement

               In addition, Joseph DeCorso agrees to make full restitution for all losses resulting
from the offense of conviction or from the scheme, conspiracy, or pattern of criminal activity
underlying that offense in the amount of $7,180,131.57.




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Rights of This Office Regarding Sentencing

                Except as otherwise provided in this agreement, this Office reserves its right to
take any position with respect to the appropriate sentence to be imposed on Joseph DeCorso by
the sentencing judge, to correct any misstatements relating to the sentencing proceedings, and to
provide the sentencing judge and the United States Probation Office all law and information
relevant to sentencing, favorable or otherwise. In addition, this Office may inform the
sentencing judge and the United States Probation Office of (1) this agreement, and (2) the full
nature and extent of activities and relevant conduct with respect to this case.

Stipulations

                  This Office and Joseph DeCorso agree to stipulate at sentencing to the statements
set forth in the attached Schedule A, which hereby is made a part of this plea agreement. This
agreement to stipulate, however, cannot and does not bind the sentencing judge, who may make
independent factual findings and may reject any or all of the stipulations entered into by the
parties. To the extent that the parties do not stipulate to a particular fact or legal conclusion, each
reserves the right to argue the existence of and the effect of any such fact or conclusion upon the
sentence. Moreover, this agreement to stipulate on the part of this Office is based on the
information and evidence that this Office possesses as of the date of this agreement. Thus, if this
Office obtains or receives additional evidence or information prior to sentencing that it
determines to be credible and to be materially in conflict with any stipulation in the attached
Schedule A, this Office shall not be bound by any such stipulation. A determination that any
stipulation is not binding shall not release either this Office or Joseph DeCorso from any other
portion of this agreement, including any other stipulation. If the sentencing court rejects a
stipulation, both parties reserve the right to argue on appeal or at post-sentencing proceedings
that the sentencing court was within its discretion and authority to do so. These stipulations do
not restrict this Office’s right to respond to questions from the Court and to correct
misinformation that has been provided to the Court.

Waiver of Appeal and Post-Sentencing Rights

                As set forth in Schedule A, this Office and Joseph DeCorso waive certain rights to
file an appeal, collateral attack, writ, or motion after sentencing, including but not limited to an
appeal under 18 U.S.C. § 3742 or a motion under 28 U.S.C. § 2255.

Forfeiture

                As part of his acceptance of responsibility, and pursuant to 18 U.S.C. § 982(a)(7),
Joseph DeCorso agrees to agrees to the entry of a forfeiture money judgment in the amount of
$209,445.00, representing all property, real and personal, that constitutes or is derived, directly
and indirectly, from gross proceeds traceable to a violation of [8 U.S.C. § 1349, which is a
Federal health care offense, as defined in 18 U.S.C. § 24 (the “Forfeiture Money Judgment”).


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                 Payment of the Forfeiture Money Judgment shall be made by certified or bank
 check payable to the United States Marshals Service, with the criminal docket number noted on
 the face of the check. Joseph DeCorso shall cause said check to be hand delivered to the Asset
 Forfeiture and Money Laundering Unit, United States Attorney’s Office, District of New Jersey,
 970 Broad Street, Newark, New Jersey 07102.

                 If the Forfeiture Money Judgment is not paid on or before the date Joseph
DeCorso enters his plea of guilty pursuant to this agreement, interest shall accrue on any unpaid
portion thereof at the judgment rate of interest from that date. Furthermore, if Joseph DeCorso
fails to pay any portion of the Forfeiture Money Judgment on or before the date of his guilty
plea, Joseph DeCorso consents to the forfeiture of any other property, including substitute assets,
in full or partial satisfaction of the money judgment, and remains responsible for the payment of
any deficiency until the Forfeiture Money Judgment is paid in full.

                  Joseph DeCorso also agrees to consent to the entry of a Consent Judgment and
Order of Forfeiture for the Forfeiture Money Judgment, and any further orders that may be
necessary to enforce the Forfeiture Money Judgment, and waives the requirements of Rules 32.2
and 43(a) of the Federal Rules of Criminal Procedure regarding notice of the forfeiture in the
charging instrument, announcement of the forfeiture at sentencing, and incorporation of the
forfeiture in the judgment. Pursuant to Rule 32.2(b)(4) of the Federal Rules of Criminal
Procedure, the defendant consents to the entry of a Consent Judgment of Forfeiture that will be
final as to the Forfeiture Money Judgment prior to the defendant’s sentencing. Joseph DeCorso
understands that the imposition of the Forfeiture Money Judgment is part of the sentence that
may be imposed in this case and waives any failure by the court to advise him of this pursuant to
Rule 11 (b)( 1 )(J) of the Federal Rules of Criminal Procedure at the guilty plea proceeding.

                 It is further understood that any forfeiture of Joseph DeCorso’s assets shall not be
treated as satisfaction of any fine, restitution, cost of imprisonment, or any other penalty the
Court may impose upon him in addition to forfeiture. Joseph DeCorso hereby waives any and all
claims that the forfeiture constitutes an excessive fine and agrees that the forfeiture does not
violate the Eighth Amendment.

                It is further understood that the Office will recommend to the Attorney General
that any forfeited money or property be remitted or restored to eligible victims of the offense,
pursuant to 18 U.S.C. § 982(b)(1), 21 U.S.C. § 853(i), 28 C.F.R. Pt. 9, and other applicable law,
it being understood that this Office has authority only to recommend such relief and that the final
decision of whether to grant relief rests with the Department of Justice, which will make its
decision in accordance with applicable law.

Immigration Consequences

                Joseph DeCorso understands that, if he is not a citizen of the United States, his
guilty plea to the charged offense will likely result in his being subject to immigration
proceedings and removed from the United States by making him deportable, excludable, or

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inadmissible, or ending his naturalization. The defendant understands that the immigration
consequences of this plea will be imposed in a separate proceeding before the immigration
authorities. The defendant wants and agrees to plead guilty to the charged offense regardless of
any immigration consequences of this plea, even if this plea will cause his removal from the
United States. The defendant understands that he is bound by his guilty plea regardless of any
immigration consequences of the plea. Accordingly, the defendant waives any and all challenges
to his guilty plea and to his sentence based on any immigration consequences, and agrees not to
seek to withdraw his guilty plea, or to file a direct appeal or any kind of collateral attack
challenging his guilty plea, conviction, or sentence, based on any immigration consequences of
his guilty plea.

Other Provisions

                This agreement is limited to the Fraud Section, Criminal Division of the United
States Department of Justice and cannot bind other federal, state, or local authorities. However,
this Office will bring this agreement to the attention of other prosecuting offices, if requested to
do so.

                This agreement was reached without regard to any civil or administrative matters
that may be pending or commenced in the future against Joseph DeCorso. This agreement does
not prohibit the United States, any agency thereof (including the Internal Revenue Service and
the U.S. Department of Health and Human Services), or any third party from initiating or
prosecuting any civil or administrative proceeding against Joseph DeCorso.

               No provision of this agreement shall preclude Joseph DeCorso from pursuing in
an appropriate forum, when permitted by law, an appeal, collateral attack, writ, or motion
claiming that Joseph DeCorso received constitutionally ineffective assistance of counsel.




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No Other Promises

                This agreement constitutes the plea agreement between Joseph DeCorso and this
Office and supersedes any previous agreements between them. No additional promises,
agreements, or conditions have been made or will be made unless set forth in writing and signed
by the parties.

                                                   Very truly yours,

                                                   CRAIG CARPENITO
                                                   United States Attorney



                                             By:    arren C. Halverson
                                                   Trial Attorney

APPROVED:


 OSE HBEEMSTERBOER
De tyChief                      r
Fraud Section, Criminal Division
United States Department of Justice




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                 I have received this letter from my attorney, Damian Conforti. I have read it. My
attorney and I have discussed it and all of its provisions, including those addressing the charge,
sentencing, stipulations, waiver, forfeiture, and immigration consequences. I understand this
letter fully. I hereby accept its terms and conditions and acknowledge that it constitutes the plea
agreement between the parties. I understand that no additional promises, agreements, or
conditions have been made or will be made unless set forth in writing and signed by the parties.
I want to plead guilty pursuant to this plea agreement.


AGREED AND ACCEPTED:




                                                     Date
Jo     Der o



               I have discussed with my client this plea agreement and all of its provisions,
including those addressing the charge, sentencing, stipulations, waiver, forfeiture, and
immigration consequences. My client understands this plea agreement fully and wants to plead
guilty pursuant to it.




                                                     Date:
Damian




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                               Plea Agreement with Joseph DeCorso

                                            Schedule A

                 This Office and Joseph DeCorso recognize that the United States Sentencing
Guidelines are not binding upon the Court. This Office and Joseph DeCorso nevertheless agree
to the stipulations set forth herein. The parties agree not to seek or argue for any upward or
downward departure or adjustment not set forth herein. Pursuant to Title 18, United States Code,
Section 3553(a), Joseph DeCorso reserves the right to move for a variance. This Office reserves
the right to oppose such a motion.

             1.     Between in or about July 2017 and on or about March 15, 2015, Joseph
DeCorso conspired with others to commit Medicare fraud.

              2.     The guideline that applies to the charge under Title 18, United States
Code, Section 1349, contained in Count One of the Indictment, is U.S.S.G. § 2B1.1.
                                                                           §
               3.     Because the offense of conviction does not have a statutory maximum
term of imprisonment of 20 years or more, this guideline carries a Base Offense Level of 6. See
§ U.S.S.G. 2B1.1(a)(2).
              4.     The reasonable estimate of loss to Medicare was in excess of
approximately $13 million. The loss amount was therefore more than $9,500,000, but was not
more than $25,000,000, resulting in an increase of 20 levels.   U.S.S.G. § 2B1.1(b)(1)(K).

                5.    Joseph DeCorso was convicted of a Federal health care offense involving
a Government health care program and the loss amount associated with that offense was more
than $7,000,000, and thus the offense level is incread by three levels. See U.S.S.G.
                                                                                     §
2B 1.1 (b)(7)(B).

               6.     The offense involved sophisticated means and the defendant intentionally
engaged in or cause the conduct constituting sophisticated means, and thus the offense level is
increased by two levels. See U.S.S.G. §2B1.1(b)(10)(C).

                7.      The defendant abused a position of public or private trust in that he used
his position as a licensed medical doctor in a manner that significantly facilitated the commission
or concealment of the offense, and thus the offense level is increased by two levels. See U.S.S.G
§ 3B1.3.
               8.     Accordingly the offense level applicable to Count One of the Indictment is
33.

               9.     As of the date of this letter, Joseph DeCorso has clearly demonstrated a
recognition and affirmative acceptance of personal responsibility for the offense charged.
Therefore, a downward adjustment of two levels for acceptance of responsibility is appropriate if
Joseph DeCorso’s acceptance of responsibility continues through the date of sentencing. See
U.S.S.G. § 3E1.1(a).


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                 10.    As of the date of this letter, Joseph DeCorso has assisted authorities in the
investigation or prosecution of his own misconduct by timely notifying authorities of his
intention to enter a plea of guilty, thereby permitting this Office to avoid preparing for trial and
permitting this Office and the court to allocate their resources efficiently. At sentencing, this
Office will move for a further one-point reduction in Joseph DeCorso’s offense level pursuant to
§ 3E1.1(b) if the following conditions are met: (a) Joseph DeCorso enters a plea pursuant to this
agreement, (b) this Office in its discretion determines that Joseph DeCorso’s acceptance of
responsibility has continued through the date of sentencing and Joseph DeCorso therefore
qualifies for a two point reduction for acceptance of responsibility pursuant to § 3E1 .1(a), and (c)
Joseph DeCorso’s offense level under the Guidelines prior to the operation of § 3E1 .1(a) is 16 or
greater.

                 11.   Joseph DeCorso knows that he has and, except as noted below in this
paragraph, voluntarily waives, the right to file any appeal, any collateral attack, or any other writ
or motion, including but not limited to an appeal under 18 U.S.C. § 3742 or a motion under 28
U.S.C. § 2255, which challenges the sentence imposed by the sentencing court if that sentence
falls within or below the Guidelines range that results from the agreed total Guidelines offense
level of 30. This Office will not file any appeal, motion or writ which challenges the sentence
imposed by the sentencing court if that sentence falls within or above the Guidelines range that
results from the agreed total Guidelines offense level of 30. The parties reserve any right they
may have under 18 U.S.C. § 3742 to appeal the sentencing court’s determination of the criminal
history category. The provisions of this paragraph are binding on the parties even if the Court
employs a Guidelines analysis different from that stipulated to herein. Furthermore, if the
sentencing court accepts a stipulation, both parties waive the right to file an appeal, collateral
attack, writ, or motion claiming that the sentencing court erred in doing so.

                 12.    Both parties reserve the right to oppose or move to dismiss any appeal,
collateral attack, writ, or motion barred by the preceding paragraph and to file or to oppose any
appeal, collateral attack, writ or motion not barred by the preceding paragraph.




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